                               UNITED STATES DISTRICT COURT
                     FOR THE    EASTERN DISTRICT OF NORTH CAROLINA
                                    SOUTHERN DIVISION

                                     No.   7:06-M-59


UNI'l'.~O   STATES OF AMERICA                  )
                                               )ORDER ALLOWING DISMISSAL OF
               'r.                             )~RIMINAL   INFORMATION J}J'J..Q
                                               )WITHDRAWAL ORhRREST WARBANT
ELIZABETH HEFNER P.ARKER                       )

Leave of court is granted for the filing of the foregoing
dj.smissal.



                                           RolER/':~;o~
                                           UNITBD STATES MAGISTRATE JUDGE




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